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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

UNITED STATES OF AMERICA                      )         No. 4:21CR   00\Lh {$~/111
                                              )
V.                                            )         18 U.S.C. § 922(g)(l)
                                              )
JEFFERY L. HILL                               )


                                         INDICTMENT

THE GRAND JURY CHARGES THAT:

                                            COUNT 1

       A.      On or about July 24, 2020, the defendant,

                                       JEFFERY L. HILL,

had previously and knowingly been convicted of one or more of the following crimes punishable

by a te1m of imprisonment exceeding one year:

               1.     Possession of Firearms by Certain Persons and Possession of Drug

                      Paraphernalia, in Faulkner County, Arkansas, Circuit Court in Case

                      Number 23CR-18-1134;

               2.     Possession of a Controlled Substance, in Faulkner County, Arkansas,

                      Circuit Comi in Case Number 2015-203; and

               3.     Possession of a Controlled Substance, in Pulaski County, Arkansas Circuit

                      Court in Case Number 2006-225.

       B.      On or about July 24, 2020, in the Eastern District of Arkansas, the

defendant,

                                       JEFFERY L. HILL,

knowingly possessed, in and affecting commerce, one or more of the following:



                                                    1
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                1.   A fireaim, that is: a Taurus International Manufacturing, Model 45-410

                     "The Judge," .45LC/.410 caliber revolver, bearing serial number JR691973;

                     and

               2.    One or more rounds of Colt .45 ammunition.

        All in violation of Title 18, United States Code, Section 922(g)(l).

                                            COUNT2

        A.     On or about October 25, 2020, the defendant,

                                       JEFFERY L. HILL,

had previously and knowingly been convicted of one or more of the following crimes punishable

by a term of imprisonment exceeding one year:

               1.      Possession of Firearms by Certain Persons and Possession of Drug

                       Paraphernalia, in Faulkner County, Arkansas, Circuit Comi in Case

                       Number 23CR-18-1134;

               2.      Possession of a Controlled Substance, in Faulkner County, Arkansas,

                       Circuit Comi in Case Number 2015-203; and

               3.      Possession of a Controlled Substance, in Pulaski County, Arkansas Circuit

                       Comi in Case Number 2006-225.

       B.      On or about October 25, 2020, in the Eastern District of Arkansas, the

defendant,

                                       JEFFERY L. HILL,

knowingly possessed, in and affecting commerce, a firearm, that is: a Smith & Wesson, model

M&P Shield, 9xl9mm semi-automatic pistol, bearing serial number JEY3133, in violation of

Title 18, United States Code, Section 922(g)(l ).




                                                    2
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                                FORFEITURE ALLEGATION

       Upon conviction of the offense alleged in Count 1 and/or 2 of this Indictment, the

defendant, Jeffery L. Hill, shall forfeit to the United States pursuant to Title 18, United States

Code, Section 924(d), Title 21, United States Code, Section 853, and Title 28, United States Code,

Section 2461(c), all fireanns and ammunition involved in the commission of the offenses.

                     [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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